                                                                                                         '
                                                                                                     .

Case 3:17-cv-00072-NKM-JCH Document 242 Filed 02/26/18 Page 1CLof 2 oO
                                                               ERKS  Pageid#:   1503
                                                                        lcE U.s.Dl
                                                                                 sm cG m
                                                                  ATcFM LorfEsvlœ ,vA.
                                                                                           FILED

                                                                                     FEB 2'6 2213
                       IN THE IJNITED STATES DISTW CT COURT                     2
                                                                               BY'
                                                                                           . U LEM CLERK
                      FO R TH E W ESTER N DISTR ICT O F W R G IN IA                             LM
                            C H A R LO TTE SVILLE D IVISIO N

  ELIZABETH SINES,eta1.,                                 Case N o.3:17-cv-00072-N K M -JCH

                       Plaintiffs,



  JA SON KESSLER.,etal.,

                       D efendants.                  )
                                                     )
                                                     )
                                                     ?
     M OTION TO OUiSH SUBPOENASTO TW ITTER.INC.,GODADDV COM LLC.
        CLOUDFLARE.INC..AND HATREON AND FOR PROTECTIVE ORDER


        Non-party John Doe,forthqreasonssçtforth theaccompanying M em orandum ofPoints

  and Authorities,respectfully requeststhatthe Courtquash subpoenasissuedbyPlaintiffsto.
                                                                '
                                                .                                      è

  Twitter,Inc.,Godaddy.com LLC,Cloudflare'
                                         ,Inc.,andHatreon (Docs.226-2 -226-5)andto
  enteraprotectiveorderpreventingenforcem entorcompliancewith thethosesubpoénasor

  similarthirdpartysubpoenaswith similarsubjectmatterinthef'
                                                           uture.
        ThismotionisbroughtpursuanttoFed.R.Civ.P.45(d),26(c)and 18U.S.C.52702.Itis
  supportedby theaccompanyingM eldorandum ofPointsandAuthoritiès:nd theDeclaration of

  John D oe.



        DATED :February 23,2018                     Respectfully Submitted .

                                                    John D oe

                                                      Sohn Doe/
                                                    Pro Se
                                                    subpoenadoel@ protonmail.com
Case 3:17-cv-00072-NKM-JCH Document 242 Filed 02/26/18 Page 2 of 2 Pageid#: 1504




                               CE RTIFICA TE O F SERV ICE

         Ihereby certify thaton this24th day ofFebruary,2018,a copy oftheforegoingwas
  submittedto the Clerk'sofficeoftheCharlottesvilleDivision oftheU .S.DistrictCourtforthe
  .


  W estem DistrictofVirginiaat255W .M ain Street,Room 304,Charlottesvillç,VA 22902 by
  U .S.PostalServiceExpressM ail.A copy ofthissubmission wassentby em ailtotheçm ail
  addressesofthepartiesand counsellistedbelow.                    '

                                                  /s/Jolm Doe
                                                  Pro Se'



  pbowman@ bsfllp.com (attoOeyforPlaintiffs)
  rcahill@ coolev.com (attorneyforPlaintiffs)
  ybarkai@ bstllp.com (attorneyforPlaintiffs)
  dcampbell@dhdglaw.com (attorneyforDefendantFields)
  kdunn@ bsfllp.com (attorneyforPlaihtiffs)
  ifizlk@ kaplanandcompanv.com (attorneyforPlaintiffs)
  icravatt@ dhdalaw.com (attorneyforDefendantFields)
  cgreene@kaplanandcompalw.com (attorney'forPlaintiffs)
  wisaacson@bsfllp.com (attorney forPlaintiffs)
  brv'an@bioneslecal.com (attorneyforbefendantLeagueoftheSouth)
  rkaplan@ kaplanandcompr y.com (attorneyforPlaintiffs)
  alevine@ cooley.com (qttorneyforPlaintiffs)
  ilibling@bsfllp.cop (attorneyfoyPlaintiffs),
  dmills@ coolev.com (attorzleyforPlaintiffs)
  sstrohmeier@kaplr andcompany.com (attorneyforPlaintiffs)
  isuecrooks@ comcast.net(attorneyforDefendantParrott)
